                                                                                                                                             Page No:      1
                                                                         FORM 1
                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                              ASSET CASES
Case No.:                    18-47854-TJT                                                      Trustee Name:                              Wendy Turner Lewis
Case Name:                   SALATA, CAROL M.                                                  Date Filed (f) or Converted (c):           05/31/2018 (f)
For the Period Ending:       8/11/2018                                                         §341(a) Meeting Date:                      07/05/2018
                                                                                               Claims Bar Date:

                         1                             2                      3                         4                         5                        6

                 Asset Description                 Petition/          Estimated Net Value            Property               Sales/Funds             Asset Fully
                  (Scheduled and                 Unscheduled         (Value Determined by            Abandoned             Received by the       Administered (FA) /
             Unscheduled (u) Property)              Value                   Trustee,           OA =§ 554(a) abandon.           Estate              Gross Value of
                                                                    Less Liens, Exemptions,                                                       Remaining Assets
                                                                       and Other Costs)

 Ref. #
1       household items                               $1,000.00                        $0.00                                            $0.00                      FA
2       Electronics                                   $1,000.00                        $0.00                                            $0.00                      FA
3       clothing                                        $200.00                        $0.00                                            $0.00                      FA
4       wedding diamond ring                          $9,000.00                        $0.00                                            $0.00                      FA
5       checking DFCU                                      $50.00                      $0.00                                            $0.00                      FA
6       Savings DFCU                                       $50.00                      $0.00                                            $0.00                      FA
7       checking Gensis FCU                                $50.00                      $0.00                                            $0.00                      FA
8       security deposit 10930                          $500.00                        $0.00                                            $0.00                      FA
        Lighthouse Dr # 421, Belleville,
        MI 48111
9       owed to debtor                                $1,200.00                        $0.00                                            $0.00                      FA
10      Potential Future Bonuses and                  $4,200.00                    Unknown                                              $0.00                  Unknown
        commissions of Ex-Spouse per
        Judgment of Divorce 35% of
        projected $12,000 per year
        bonus and commission
        Alimony


TOTALS (Excluding unknown value)                                                                                                      Gross Value of Remaining Assets
                                                     $17,250.00                        $0.00                                            $0.00                  $0.00




     Major Activities affecting case closing:
      08/11/2018      TRUSTEE TO REVIEW DEBTOR'S POTENTIAL INCOME (BONUSES & COMMISSIONS) FROM EX-SPOUSE PER YEAR;


 Initial Projected Date Of Final Report (TFR):       12/31/2021                                                  /s/ WENDY TURNER LEWIS
 Current Projected Date Of Final Report (TFR):       12/31/2021                                                  WENDY TURNER LEWIS
                                                                                                                 Chapter 7 Bankruptcy Trustee
                                                                                                                 444 West Willis, Suite 101
                                                                                                                 Detroit, Michigan 48201
                                                                                                                 313.832.5555
                                                                                                                 wtlewis@ameritech.net




                      18-47854-tjt          Doc 16      Filed 08/11/18             Entered 08/11/18 11:59:18                      Page 1 of 1
